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B 22C (Official Form 22C) (Chapter 13) (01/08)



       Becalel and Susan Edelstein
In re ______________________________                                 According to the calculations required by this statement:
                 Debtor(s)                                              The applicable commitment period is 3 years.
                                                                     ✔ The applicable commitment period is 5 years.
              09-50349(cec)
Case Number: __________________                                      ✔ Disposable income is determined under § 1325(b)(3).
               (If known)                                               Disposable income is not determined under § 1325(b)(3).
                                                                     (Check the boxes as directed in Lines 17 and 23 of this statement.)


                       CHAPTER 13 STATEMENT OF CURRENT MONTHLY INCOME
                 AND CALCULATION OF COMMITMENT PERIOD AND DISPOSABLE INCOME
In addition to Schedules I and J, this statement must be completed by every individual chapter 13 debtor, whether or not filing
jointly. Joint debtors may complete one statement only.


                                                 Part I. REPORT OF INCOME
          Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
   1      a.    Unmarried. Complete only Column A (“Debtor’s Income”) for Lines 2-10.
          b. ✔ Married. Complete both Column A (“Debtor’s Income”) and Column B (“Spouse’s Income”) for Lines 2-10.
          All figures must reflect average monthly income received from all sources, derived during the        Column A       Column B
          six calendar months prior to filing the bankruptcy case, ending on the last day of the month         Debtor’s        Spouse’s
          before the filing. If the amount of monthly income varied during the six months, you must             Income         Income
          divide the six-month total by six, and enter the result on the appropriate line.
   2      Gross wages, salary, tips, bonuses, overtime, commissions.                                       $     3,433.04 $     3,433.04
          Income from the operation of a business, profession, or farm. Subtract Line b from Line a
          and enter the difference in the appropriate column(s) of Line 3. If you operate more than one
          business, profession or farm, enter aggregate numbers and provide details on an attachment.
          Do not enter a number less than zero. Do not include any part of the business expenses
   3      entered on Line b as a deduction in Part IV.
            a.      Gross receipts                                  $
            b.      Ordinary and necessary business expenses        $
            c.      Business income                                 Subtract Line b from Line a            $              $
          Rent and other real property income. Subtract Line b from Line a and enter the difference
          in the appropriate column(s) of Line 4. Do not enter a number less than zero. Do not include
          any part of the operating expenses entered on Line b as a deduction in Part IV.
   4        a.      Gross receipts                                  $
            b.      Ordinary and necessary operating expenses       $
            c.      Rent and other real property income             Subtract Line b from Line a            $              $
   5      Interest, dividends, and royalties.                                                              $              $
   6      Pension and retirement income.                                                                   $              $
          Any amounts paid by another person or entity, on a regular basis, for the household
          expenses of the debtor or the debtor’s dependents, including child support paid for that
   7
          purpose. Do not include alimony or separate maintenance payments or amounts paid by the
          debtor’s spouse.                                                                                 $              $
          Unemployment compensation. Enter the amount in the appropriate column(s) of Line 8.
          However, if you contend that unemployment compensation received by you or your spouse
          was a benefit under the Social Security Act, do not list the amount of such compensation in
   8      Column A or B, but instead state the amount in the space below:
           Unemployment compensation claimed to
           be a benefit under the Social Security Act     Debtor $ ________   Spouse $ _________           $              $
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          Income from all other sources. Specify source and amount. If necessary, list additional
          sources on a separate page. Total and enter on Line 9. Do not include alimony or separate
          maintenance payments paid by your spouse, but include all other payments of alimony or
          separate maintenance. Do not include any benefits received under the Social Security Act or
   9      payments received as a victim of a war crime, crime against humanity, or as a victim of
          international or domestic terrorism.
            a.                                                                      $
            b.                                                                      $                       $     7,254.54 $
          Subtotal. Add Lines 2 thru 9 in Column A, and, if Column B is completed, add Lines 2
  10
          through 9 in Column B. Enter the total(s).                                                        $    10,687.58 $      3,433.04
          Total. If Column B has been completed, add Line 10, Column A to Line 10, Column B, and
  11      enter the total. If Column B has not been completed, enter the amount from Line 10, Column
          A.                                                                                                 $                   14,120.62

                          Part II. CALCULATION OF § 1325(b)(4) COMMITMENT PERIOD
  12      Enter the amount from Line 11.                                                                                     $   14,120.62

          Marital adjustment. If you are married, but are not filing jointly with your spouse, AND if you contend that
          calculation of the commitment period under § 1325(b)(4) does not require inclusion of the income of your
          spouse, enter on Line 13 the amount of the income listed in Line 10, Column B that was NOT paid on a
          regular basis for the household expenses of you or your dependents and specify, in the lines below, the basis
          for excluding this income (such as payment of the spouse’s tax liability or the spouse’s support of persons
          other than the debtor or the debtor’s dependents) and the amount of income devoted to each purpose. If
  13      necessary, list additional adjustments on a separate page. If the conditions for entering this adjustment do not
          apply, enter zero.
            a.                                                                       $
            b.                                                                       $
            c.                                                                       $
          Total and enter on Line 13.                                                                                        $
  14      Subtract Line 13 from Line 12 and enter the result.                                                                $   14,120.62

  15      Annualized current monthly income for § 1325(b)(4). Multiply the amount from Line 14 by the number 12
          and enter the result.                                                                                 $ 169,447.44
          Applicable median family income. Enter the median family income for applicable state and household size.
  16      (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy
          court.)
                                                 NY
          a. Enter debtor’s state of residence: _______________   b. Enter debtor’s household size: __________4              $   82,457.00

          Application of § 1325(b)(4). Check the applicable box and proceed as directed.
            The amount on Line 15 is less than the amount on Line 16. Check the box for “The applicable commitment period is
  17         3 years” at the top of page 1 of this statement and continue with this statement.
          ✔ The amount on Line 15 is not less than the amount on Line 16. Check the box for “The applicable commitment period
             is 5 years” at the top of page 1 of this statement and continue with this statement.
          Part III. APPLICATION OF § 1325(b)(3) FOR DETERMINING DISPOSABLE INCOME
  18      Enter the amount from Line 11.                                                                                     $   14,120.62
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          Marital adjustment. If you are married, but are not filing jointly with your spouse, enter on Line 19 the total
          of any income listed in Line 10, Column B that was NOT paid on a regular basis for the household expenses
          of the debtor or the debtor’s dependents. Specify in the lines below the basis for excluding the Column B
          income (such as payment of the spouse’s tax liability or the spouse’s support of persons other than the debtor
          or the debtor’s dependents) and the amount of income devoted to each purpose. If necessary, list additional
  19      adjustments on a separate page. If the conditions for entering this adjustment do not apply, enter zero.
            a.                                                                         $
            b.                                                                         $
            c.                                                                         $
          Total and enter on Line 19.                                                                                       $
  20      Current monthly income for § 1325(b)(3). Subtract Line 19 from Line 18 and enter the result.                          14,120.62

  21      Annualized current monthly income for § 1325(b)(3). Multiply the amount from Line 20 by the number 12
          and enter the result.                                                                                 $ 169,447.44
  22      Applicable median family income. Enter the amount from Line 16.                                                   $   82,457.00

          Application of § 1325(b)(3). Check the applicable box and proceed as directed.
          ✔ The amount on Line 21 is more than the amount on Line 22. Check the box for “Disposable income is determined
  23              under § 1325(b)(3)” at the top of page 1 of this statement and complete the remaining parts of this statement.
                 The amount on Line 21 is not more than the amount on Line 22. Check the box for “Disposable income is not
                  determined under § 1325(b)(3)” at the top of page 1 of this statement and complete Part VII of this statement. Do not
                  complete Parts IV, V, or VI.
                                Part IV. CALCULATION OF DEDUCTIONS FROM INCOME
                     Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
          National Standards: food, apparel and services, housekeeping supplies, personal care, and
          miscellaneous. Enter in Line 24A the “Total” amount from IRS National Standards for Allowable Living
 24A
          Expenses for the applicable household size. (This information is available at www.usdoj.gov/ust/ or from the
          clerk of the bankruptcy court.)                                                                              $          1,370.00

          National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for Out-
          of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for Out-
          of-Pocket Health Care for persons 65 years of age or older. (This information is available at
          www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) Enter in Line b1 the number of members of
          your household who are under 65 years of age, and enter in Line b2 the number of members of your
          household who are 65 years of age or older. (The total number of household members must be the same as
          the number stated in Line 16b.) Multiply Line a1 by Line b1 to obtain a total amount for household members
          under 65, and enter the result in Line c1. Multiply Line a2 by Line b2 to obtain a total amount for household
 24B      members 65 and older, and enter the result in Line c2. Add Lines c1 and c2 to obtain a total health care
          amount, and enter the result in Line 24B.
            Household members under 65 years of age                  Household members 65 years of age or older
            a1.      Allowance per member                    60.00 a2.      Allowance per member
            b1.      Number of members                            4 b2.     Number of members
            c1.      Subtotal                               240.00 c2.      Subtotal                                        $      240.00

          Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing and
 25A      Utilities Standards; non-mortgage expenses for the applicable county and household size. (This information
          is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court).                             $             761.00
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          Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the
          IRS Housing and Utilities Standards; mortgage/rent expense for your county and household size (this
          information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter on Line b the
          total of the Average Monthly Payments for any debts secured by your home, as stated in Line 47; subtract
          Line b from Line a and enter the result in Line 25B. Do not enter an amount less than zero.
 25B
            a.      IRS Housing and Utilities Standards; mortgage/rent expense        $                     1,759.00
            b.      Average Monthly Payment for any debts secured by your
                    home, if any, as stated in Line 47                                $                     4,379.49
            c.      Net mortgage/rental expense                                       Subtract Line b from Line a.          $   2,620.49

          Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 25A
          and 25B does not accurately compute the allowance to which you are entitled under the IRS Housing and
          Utilities Standards, enter any additional amount to which you contend you are entitled, and state the basis for
  26      your contention in the space below:
          ________________________________________________________________________________________
          ________________________________________________________________________________________
          ________________________________________________________________________________________ $
          Local Standards: transportation; vehicle operation/public transportation expense. You are entitled to an
          expense allowance in this category regardless of whether you pay the expenses of operating a vehicle and
          regardless of whether you use public transportation.
          Check the number of vehicles for which you pay the operating expenses or for which the operating expenses
          are included as a contribution to your household expenses in Line 7.    0 ✔1          2 or more.
 27A
          If you checked 0, enter on Line 27A the “Public Transportation” amount from IRS Local Standards:
          Transportation. If you checked 1 or 2 or more, enter on Line 27A the “Operating Costs” amount from IRS
          Local Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan
          Statistical Area or Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk of
          the bankruptcy court.)                                                                                            $    235.00
          Local Standards: transportation; additional public transportation expense. If you pay the operating
          expenses for a vehicle and also use public transportation, and you contend that you are entitled to an
 27B      additional deduction for your public transportation expenses, enter on Line 27B the “Public Transportation”
          amount from IRS Local Standards: Transportation. (This amount is available at www.usdoj.gov/ust/ or from
          the clerk of the bankruptcy court.)                                                                               $    173.00
          Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for
          which you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more than
          two vehicles.) ✔ 1          2 or more.
          Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
          (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
          Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 47; subtract Line b from
  28      Line a and enter the result in Line 28. Do not enter an amount less than zero.
            a.      IRS Transportation Standards, Ownership Costs                     $                       235.00

            b.      Average Monthly Payment for any debts secured by Vehicle 1,
                    as stated in Line 47                                              $                       259.00
            c.      Net ownership/lease expense for Vehicle 1                         Subtract Line b from Line a.          $     24.00
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          Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if you
          checked the “2 or more” Box in Line 28.
          Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
          (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
          Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 47; subtract Line b from
  29      Line a and enter the result in Line 29. Do not enter an amount less than zero.
            a.      IRS Transportation Standards, Ownership Costs                     $
            b.      Average Monthly Payment for any debts secured by Vehicle 2,
                    as stated in Line 47                                              $
            c.      Net ownership/lease expense for Vehicle 2                         Subtract Line b from Line a.          $
          Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all
  30      federal, state, and local taxes, other than real estate and sales taxes, such as income taxes, self-employment
          taxes, social-security taxes, and Medicare taxes. Do not include real estate or sales taxes.                      $
          Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly
  31      deductions that are required for your employment, such as mandatory retirement contributions, union dues,
          and uniform costs. Do not include discretionary amounts, such as voluntary 401(k) contributions.
                                                                                                                            $
          Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually pay for
  32      term life insurance for yourself. Do not include premiums for insurance on your dependents, for whole
          life or for any other form of insurance.                                                                 $             240.00
          Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are required
  33      to pay pursuant to the order of a court or administrative agency, such as spousal or child support payments.
          Do not include payments on past due obligations included in Line 49.                                         $
          Other Necessary Expenses: education for employment or for a physically or mentally challenged child.
          Enter the total average monthly amount that you actually expend for education that is a condition of
  34
          employment and for education that is required for a physically or mentally challenged dependent child for
          whom no public education providing similar services is available.                                                 $
          Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend on
  35      childcare—such as baby-sitting, day care, nursery and preschool. Do not include other educational
          payments.                                                                                                         $
          Other Necessary Expenses: health care. Enter the total average monthly amount that you actually expend
          on health care that is required for the health and welfare of yourself or your dependents, that is not reimbursed
  36
          by insurance or paid by a health savings account, and that is in excess of the amount entered in Line 24B. Do
          not include payments for health insurance or health savings accounts listed in Line 39.                           $    200.00
          Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that you
          actually pay for telecommunication services other than your basic home telephone and cell phone service—
  37
          such as pagers, call waiting, caller id, special long distance, or internet service—to the extent necessary for
          your health and welfare or that of your dependents. Do not include any amount previously deducted.                $    650.00

  38      Total Expenses Allowed under IRS Standards. Enter the total of Lines 24 through 37.                               $   6,513.49

                                    Subpart B: Additional Living Expense Deductions
                           Note: Do not include any expenses that you have listed in Lines 24-37
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          Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the monthly
          expenses in the categories set out in lines a-c below that are reasonably necessary for yourself, your spouse, or
          your dependents.
            a.        Health Insurance                                               $        1,493.61
  39
            b.        Disability Insurance                                           $
            c.        Health Savings Account                                         $
          Total and enter on Line 39
                                                                                                                              $   1,493.61
          If you do not actually expend this total amount, state your actual total average monthly expenditures in the
          space below:
          $ ____________
          Continued contributions to the care of household or family members. Enter the total average actual
          monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
  40
          elderly, chronically ill, or disabled member of your household or member of your immediate family who is
          unable to pay for such expenses. Do not include payments listed in Line 34.                                         $

          Protection against family violence. Enter the total average reasonably necessary monthly expenses that you
  41      actually incur to maintain the safety of your family under the Family Violence Prevention and Services Act or
          other applicable federal law. The nature of these expenses is required to be kept confidential by the court.  $
          Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS
          Local Standards for Housing and Utilities, that you actually expend for home energy costs. You must
  42
          provide your case trustee with documentation of your actual expenses, and you must demonstrate that
          the additional amount claimed is reasonable and necessary.                                                          $
          Education expenses for dependent children under 18. Enter the total average monthly expenses that you
          actually incur, not to exceed $137.50 per child, for attendance at a private or public elementary or secondary
   43     school by your dependent children less than 18 years of age. You must provide your case trustee with
          documentation of your actual expenses, and you must explain why the amount claimed is reasonable
          and necessary and not already accounted for in the IRS Standards.                                                   $    275.00
          Additional food and clothing expense. Enter the total average monthly amount by which your food and
          clothing expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS
  44      National Standards, not to exceed 5% of those combined allowances. (This information is available at
          www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) You must demonstrate that the additional
          amount claimed is reasonable and necessary.                                                                         $
          Charitable contributions. Enter the amount reasonably necessary for you to expend each month on
  45      charitable contributions in the form of cash or financial instruments to a charitable organization as defined in
          26 U.S.C. § 170(c)(1)-(2). Do not include any amount in excess of 15% of your gross monthly income.                 $
  46      Total Additional Expense Deductions under § 707(b). Enter the total of Lines 39 through 45.                         $   1,768.61

                                                 Subpart C: Deductions for Debt Payment
          Future payments on secured claims. For each of your debts that is secured by an interest in property that
          you own, list the name of the creditor, identify the property securing the debt, state the Average Monthly
          Payment, and check whether the payment includes taxes or insurance. The Average Monthly Payment is the
          total of all amounts scheduled as contractually due to each Secured Creditor in the 60 months following the
          filing of the bankruptcy case, divided by 60. If necessary, list additional entries on a separate page. Enter the
          total of the Average Monthly Payments on Line 47.
                   Name of Creditor                Property Securing the Debt            Average         Does payment
  47                                                                                     Monthly         include taxes
                                                                                         Payment         or insurance?
            a.    BAC Home Loan              119 East 28th Street, Brooklyn, NY    $        4,379.49     ✔yes no
            b.    American Honda             2009 Honda Accord                     $           259.00      yes ✔no
            c.                                                                     $                       yes    no
                                                                                   Total: Add
                                                                                   Lines a, b, and c                          $   4,638.49
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          Other payments on secured claims. If any of debts listed in Line 47 are secured by your primary residence,
          a motor vehicle, or other property necessary for your support or the support of your dependents, you may
          include in your deduction 1/60th of any amount (the “cure amount”) that you must pay the creditor in addition
          to the payments listed in Line 47, in order to maintain possession of the property. The cure amount would
          include any sums in default that must be paid in order to avoid repossession or foreclosure. List and total any
          such amounts in the following chart. If necessary, list additional entries on a separate page.
  48
                    Name of Creditor                 Property Securing the Debt       1/60th of the Cure Amount
            a.                                                                       $
            b.                                                                       $
            c.                                                                       $
                                                                                     Total: Add Lines a, b, and c           $
          Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such
  49      as priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy
          filing. Do not include current obligations, such as those set out in Line 33.                                     $    1,090.94

          Chapter 13 administrative expenses. Multiply the amount in Line a by the amount in Line b, and enter the
          resulting administrative expense.

            a.    Projected average monthly chapter 13 plan payment.                 $                      1,090.94
            b.    Current multiplier for your district as determined under
  50
                  schedules issued by the Executive Office for United States
                  Trustees. (This information is available at www.usdoj.gov/ust/
                  or from the clerk of the bankruptcy court.)                        x                          0.10
            c.    Average monthly administrative expense of chapter 13 case
                                                                                     Total: Multiply Lines a and b          $     109.09

  51      Total Deductions for Debt Payment. Enter the total of Lines 47 through 50.                                        $    5,838.52

                                                 Subpart D: Total Deductions from Income
  52      Total of all deductions from income. Enter the total of Lines 38, 46, and 51.                                     $   14,120.62

                   Part V. DETERMINATION OF DISPOSABLE INCOME UNDER § 1325(b)(2)
  53      Total current monthly income. Enter the amount from Line 20.                                                      $   14,120.62

          Support income. Enter the monthly average of any child support payments, foster care payments, or
  54      disability payments for a dependent child, reported in Part I, that you received in accordance with applicable
          nonbankruptcy law, to the extent reasonably necessary to be expended for such child.                              $
          Qualified retirement deductions. Enter the monthly total of (a) all amounts withheld by your employer from
  55      wages as contributions for qualified retirement plans, as specified in § 541(b)(7) and (b) all required
          repayments of loans from retirement plans, as specified in § 362(b)(19).                                   $
  56      Total of all deductions allowed under § 707(b)(2). Enter the amount from Line 52.                                 $   14,120.62
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          Deduction for special circumstances. If there are special circumstances that justify additional expenses for
          which there is no reasonable alternative, describe the special circumstances and the resulting expenses in lines
          a-c below. If necessary, list additional entries on a separate page. Total the expenses and enter the total in
          Line 57. You must provide your case trustee with documentation of these expenses and you must
          provide a detailed explanation of the special circumstances that make such expenses necessary and
          reasonable.
  57                Nature of special circumstances                                  Amount of expense
            a.                                                                       $
            b.                                                                       $
            c.                                                                       $
                                                                                     Total: Add Lines a, b, and c              $

  58      Total adjustments to determine disposable income. Add the amounts on Lines 54, 55, 56, and 57 and enter
          the result.                                                                                             $                  14,120.62

  59      Monthly Disposable Income Under § 1325(b)(2). Subtract Line 58 from Line 53 and enter the result.                     $         0.00

                                             Part VI: ADDITIONAL EXPENSE CLAIMS
          Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health
          and welfare of you and your family and that you contend should be an additional deduction from your current monthly
          income under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your
          average monthly expense for each item. Total the expenses.
  60                                       Expense Description                                      Monthly Amount
            a.                                                                                 $
            b.                                                                                 $
            c.                                                                                 $
                                                             Total: Add Lines a, b, and c        $

                                                      Part VII: VERIFICATION
          I declare under penalty of perjury that the information provided in this statement is true and correct. (If this is a joint case,
          both debtors must sign.)

  61                            01/18/2010
                          Date: ________________________                                     s/Becalel Edelstein
                                                                                 Signature: ________________________
                                                                                                 (Debtor)
                                01/18/2010
                          Date: ________________________                                     s/Susan Edelstein
                                                                                 Signature: ________________________
                                                                                          (Joint Debtor, if any)




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